                       UNITED STATES BANKRUPTCY COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Terry M Hagen
     Jessica N Hagen
                                                           Case No.: 1-17-03826 HWV

                                                           Chapter 13
                     Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  MidFirst
 Court Claim Number:             10
 Last Four of Loan Number:       2103
 Property Address if applicable: 16093 Maddox Rd

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                    $34.36
 b.      Prepetition arrearages paid by the trustee:                        $34.36
 c.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                   $0.00
 f.       Postpetition arrearage paid by the trustee:                       $0.00
 g.       Total b, d, and f:                                                $34.36

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
 counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




Case 1:17-bk-03826-HWV           Doc 106     Filed 01/07/25     Entered 01/07/25 10:08:32           Desc
                                             Page 1 of 4
To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: January 07, 2025
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




Case 1:17-bk-03826-HWV        Doc 106     Filed 01/07/25    Entered 01/07/25 10:08:32      Desc
                                          Page 2 of 4
                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Terry M Hagen
    Jessica N Hagen
                                                           Case No.: 1-17-03826 HWV

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

 I certify that I am more than 18 years of age and that on January 07, 2025, I served a copy of this
 Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
 PA, unless served electronically.

  Served Electronically
  Brent Diefenderfer, Esquire
  CGA Law Firm
  135 North George St
  York PA 17401


  Served by First Class Mail
  Midfirst Bank
  999 NW Grand Blvd Suite 100
  Oklahoma City OK 73118

  Terry M Hagen
  Jessica N Hagen
  16093 Maddox Rd
  Stewartstown PA 17363


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: January 07, 2025                                /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




Case 1:17-bk-03826-HWV          Doc 106     Filed 01/07/25      Entered 01/07/25 10:08:32      Desc
                                            Page 3 of 4
                                              Disbursements for Claim
Case: 17-03826          TERRY M. HAGEN
         MIDFIRST BANK
                                                                                      Sequence: 24
         BANKRUPTCY DEPARTMENT
                                                                                         Modify:
         999 NW GRAND BOULEVARD, #110
                                                                                     Filed Date: 12/26/2017 12:00:00AM
         OKLAHOMA CITY, OK 731
                                                                                     Hold Code:
 Acct No: 2103/PRE ARREARS/16093 MADDOX RD



                                                Debt:                $34.36       Interest Paid:              $0.00
        Amt Sched:              $159,613.00                                         Accrued Int:               $0.00
         Amt Due:       $0.00                    Paid:               $34.36        Balance Due:                $0.00

Claim name                             Type      Date             Check #      Principal    Interest       Total Reconciled
                                                                                                 DisbDescrp
 5200        MIDFIRST BANK
520-0 MIDFIRST BANK                            12/17/2024         2043042        $34.36       $0.00      $34.36


                                                               Sub-totals:      $34.36        $0.00     $34.36

                                                              Grand Total:      $34.36        $0.00




         Case 1:17-bk-03826-HWV          Doc 106         Filed 01/07/25      Entered 01/07/25 10:08:32      Desc          1
                                                         Page 4 of 4
